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                                     ID #932



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

SERGIO A. VALLES, JR.,

Defendant.                                                  No. 07-30136-DRH

                                     ORDER

HERNDON, Chief Judge:

             Now before the Court is Defendant Valles’ motion to continue sentencing

(Doc. 319). Defendant Valles asks to continue the sentencing hearing so that his

attorney may have time to prepare a sentencing memorandum to address sentencing

issues. The Government does not object to the continuance. Based on the reasons

in the motion, the Court GRANTS Defendant Valles’ motion to continue sentencing

(Doc. 319) and CONTINUES the sentencing date currently set for August 7, 2009

until August 21, 2009 at 9:30 a.m.

             IT IS SO ORDERED.

             Signed this 27th day of July, 2009.



                                             /s/      DavidRHer|do|
                                             Chief Judge
                                             United States District Court
